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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

UNITED STATES OF AMERICA,                           )
                                                    )
            Plaintiff,                              )
                                                    )
      vs.                                           )    Case No. 4:19-cr-00961-SRC
                                                    )
JAZMYNN LESTER,                                     )
                                                    )
            Defendant.                              )

                                                 Order

        On Tuesday, March 16, 2021 at 2:00 p.m., the Court will hold an in-person status

conference and Frye hearing in Courtroom 14-North. At the hearing, the parties will be

expected to a record of any plea offers made by the United States and rejected by Defendant, as

discussed in Missouri v. Frye, 566 U.S. 133, 145-47 (2012). If the parties expect this case to go

to trial, the parties will be expected to discuss the length of the trial, availability, and any

evidentiary or other issues that may arise during trial.

        No later than Thursday, March 11, 2021 the parties may request that the Frye hearing be

converted to a change of plea hearing, by emailing a fully-executed copy of the plea agreement to

the undersigned’s paralegal, Chelsea Langeneckert, at chelsea_langeneckert@moed.uscourts.gov.

        Any request to reschedule the hearing must demonstrate good cause, and must be filed

by no later than Tuesday, March 9, 2021.


        Dated this 23rd day of February 2021.


                                                    STEPHEN R. CLARK
                                                    UNITED STATES DISTRICT JUDGE




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